9/26/24, 3:59 Case
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                                                      Haslam Law Firm LLC 09/26/24          Page
                                                                          Mail - Re: Hudson v. Racer, et1al.of 8 PageID #: 2215



                                                                                                Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Tyler Haslam <tyler@haslamlawfirm.com>                                                 Wed, Sep 25, 2024 at 10:01 AM
  To: "Stebbins, James C." <jstebbins@flahertylegal.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, "Burdette, Danica N."
  <dburdette@flahertylegal.com>, Luke Mathis <lmathis538@gmail.com>, Charlotte Dorsey <charlotte@haslamlawfirm.com>,
  Ben Vanston <bvanston@pffwv.com>, Brittany Scott <bscott@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>

     Jamie,

     Do you have any updates?

     Thanks.

     Tyler

     On Tue, Sep 24, 2024 at 11:07 AM Jayne Hudnall <jhudnall@pffwv.com> wrote:

       Please copy Ben Vanston and Brittany Scott also, please.




       From: Stebbins, James C. <jstebbins@flahertylegal.com>
       Sent: Tuesday, September 24, 2024 10:43 AM
       To: Tyler Haslam <tyler@haslamlawfirm.com>
       Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall
       <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke Mathis
       <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
       Subject: [EXTERNAL] RE: Hudson v. Racer, et al.


       Tyler:


       I have reached out to my client to discuss the below but have not heard back from him yet. I am in
       mediation today but gave him my cell phone so I am hoping he will call me today. I will let you know when
       I hear from him.


       Jamie



       James C. Stebbins
       Member




       Flaherty
       FLAHERTY SENSABAUGH BONASSO PLLC

https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r965725131268488734&simpl=msg-…   1/8
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       P.O. BOX 3843

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       200 CAPITOL STREET

       CHARLESTON, WV 25301

       PHONE: 304.205.6388

       FAX: 304.345.0260



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       From: Tyler Haslam <tyler@haslamlawfirm.com>
       Sent: Friday, September 20, 2024 3:35 PM
       To: Stebbins, James C. <jstebbins@flahertylegal.com>
       Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall
       <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>; Luke Mathis
       <lmathis538@gmail.com>; Charlotte Dorsey <charlotte@haslamlawfirm.com>
       Subject: Re: Hudson v. Racer, et al.




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        Jamie,We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting. That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23. Had the internal affairs investigative file been produced prio ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




       Jamie,



       We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting. That's specifically
       noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23. Had the internal affairs investigative
       file been produced prior to Racer's deposition, we would have asked pointed questions about his orbital fracture and
       brain bleed. We had no reason to know that the County was allowing Racer to work and to drive while medically
       compromised.



       I appreciate the offer to answer written questions, but it will be faster and more effective (particularly with the pending
       summary judgment deadline) to depose Racer a second time on the issues related to his eye injury. By the time we
       send you questions and you meet with him and record his answers, we can knock out a deposition. I don't anticipate
       that it will take more than an hour to an hour and half. We have no problem driving to Dunbar and taking it at the police
       academy. I don't care to do it at any hour of the night or day. If Racer can sit at 3 AM, I'll be there. I have the entirety of
       Tuesday, Wednesday, Thursday, and Friday next week available.



       Please let me know.



       On Mon, Sep 16, 2024 at 8:46 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r965725131268488734&simpl=msg-…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2/8
9/26/24, 3:59 Case
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                                                                          Mail - Re: Hudson v. Racer, et3al.of 8 PageID #: 2217
          Tyler:


          It is not my desire to bother the Court with this matter either. Respectfully, you could have asked Mr.
          Racer about his orbital fracture when you deposed him the first time and the right questions were not
          asked. I don’t think that you ever proposed a protective order at any time.


          Nevertheless, as a compromise, I will offer to permit a deposition of Mr. Racer by written questions
          under Rule 31 or I will have my client answer interrogatories targeted at the issue(s) you describe and I
          will do what I can to get answers promptly and not take 30 days. Doing one of this things will allow you
          to get the discovery you want with the least impact on his training.


          Let me know if one of these options works for you.


          Best,


          Jamie



          James C. Stebbins
          Member




          Flaherty
          FLAHERTY SENSABAUGH BONASSO PLLC

          P.O. BOX 3843

          CHARLESTON, WV 25338

          OVERNIGHT:

          200 CAPITOL STREET

          CHARLESTON, WV 25301

          PHONE: 304.205.6388

          FAX: 304.345.0260




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          From: Tyler Haslam <tyler@haslamlawfirm.com>
          Sent: Friday, September 13, 2024 4:11 PM
          To: Stebbins, James C. <jstebbins@flahertylegal.com>
          Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r965725131268488734&simpl=msg-…   3/8
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                                                                                                                                                                                                                                                                                                                                                                                                                                                           Mail - Re: Hudson v. Racer, et4al.of 8 PageID #: 2218
          <jhudnall@pffwv.com>; Burdette, Danica N. <dburdette@flahertylegal.com>
          Subject: Re: Hudson v. Racer, et al.




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           Jamie,Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his orbital fracture and brain bleed.Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by t ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




          Jamie,



          Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about
          his orbital fracture and brain bleed.



          Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated
          by the Southern District.



          We are trying to resolve this without court intervention, and we would like to avoid the unnecessary cost and delay
          associated with trying to compel his deposition through the court. Given the time constraints placed on depositions
          by order this week, we will ask the Court to intervene Monday morning if this issue cannot be resolved amicably
          between now and then.



          Tyler



          On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                                        Kerry:


                                        I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily a second time.
                                        He is not trying to be difficult but we think that the request is not fair or reasonable for many reasons.


                                        First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at 9:00 in the
                                        morning and when Plaintiff decided to terminate his deposition at 2:15 p.m., that was not because of
                                        any request by Mr. Racer or his counsel to stop and we would have made him available for the
                                        remainder of the afternoon if necessary. We had no discussion at that time that there was any
                                        reason to leave the deposition open.


                                        Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another deposition so that
                                        you can ask him questions about the KCSD investigation report. You have known about the
                                        existence of that report since it was first disclosed by the County Defendants in this case in their
                                        initial disclosures on July 2. 2024. The disclosures by the County Defendants indicated that the
                                        report would be made available to the other parties upon entry of a Protective Order and I do not
                                        believe that Plaintiff ever submitted any proposed Protective Order to obtain those documents prior to
                                        deciding to take Mr. Racer’s deposition.

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             I would also note that Mr. Haslam already asked Mr. Racer’s questions about that investigation during
             his deposition.


             I am also aware of case law holding that if a party chooses to prematurely take a deposition before
             document discovery is complete, that is not an excuse for subjecting a witness to a second
             deposition.


             Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated by the parties.


             Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police Academy where
             he hopes to graduate on December 13, 2024. I understand that this training is taxing both mentally
             and physically and I do not think that it is fair to ask him to prepare for and undergo a deposition
             (especially a second deposition) while he is in the middle of that training.


             Based upon all of the above, I must respectfully decline your request. If you would like to discuss this
             further, please give me a call.


             Have a nice weekend everyone.


             Best,


             Jamie



             James C. Stebbins
             Member




             Flaherty
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             P.O. BOX 3843

             CHARLESTON, WV 25338

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             From: Kerry Nessel <nessel@comcast.net>
             Sent: Thursday, September 12, 2024 12:41 PM
             To: Stebbins, James C. <jstebbins@flahertylegal.com>
             Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
             tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
             Subject: Re: Hudson v. Racer, et al.




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             Thanks for thorough response.



             Sent from my iPhone



                     On Sep 12, 2024, at 12:10 PM, Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                     ﻿

                     Hi Kerry:


                     I need to look at some things regarding this request and am under a deadline in another
                     matter today and I also want to try to reach out to my client about it. I will give you a full
                     response tomorrow even if I am unable to reach him. I did not want you to think I was
                     ignoring this request since you asked for an answer ASAP.


                     Best,


                     Jamie



                     James C. Stebbins
                     Member




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                     FLAHERTY SENSABAUGH BONASSO PLLC

                     P.O. BOX 3843

                     CHARLESTON, WV 25338

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                     FAX: 304.345.0260



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                     From: KERRY NESSEL <nessel@comcast.net>
                     Sent: Wednesday, September 11, 2024 2:17 PM
                     To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E. Greve
                     <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
                     Cc: tyler@haslamlawfirm.com
                     Subject: Hudson v. Racer, et al.




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                      Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                     Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page
                     internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions.

                     As the Court entered and order yesterday extending the deposition deadline to Sept 27 and the
                     recent disclosure, we believe our request is reasonable.

                     Please let me know ASAP.

                     Additionally, considering Racer had been brutally battered by no less than 5 men at a bar and
                     suffered significant physical injuries, including a brain bleed and broken orbital bone on his left side,
                     we request his medical records concerning the same.

                     Further, we are willing to travel to the WVSP academy to conduct this deposition.

                     Finally, please provide us dates for your availability to depose Lt. Pile. I assume this will have to take
                     place in Chas.

                     Thanks.

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                     by returning it to the sender and delete this copy from your system. Thank you for your cooperation.
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